Case 9:13-cv-80701-KAM Document 4 Entered on FLSD Docket 07/25/2013 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 13-80701-CIV-MARRA


 ZELMER ASHLEY

        Plaintiff,

 v.

 CHASE BANK J.P. MORGAN,
 PALM BEACH STATE COLLEGE,
 GREAT LAKE LOAN,
 JOHN W. CARROLL,
 RANDY DOANE, ESQ.,
 ADRIAN P. THOMAS,
 CHRISTIAN B. LAHTI,
 PATRICIA M. BRESNAN,
 TRACY D. LAHTI,
 ERNEST GANZ,
 HOWARD P. ALTERRMAN,
 DR. DENNIS GALLON,
 DR. JEAN WIHBY,
 SCOTT MACLACHIAN, and
 MARK CLIFFORD


       Defendants.
 ______________________________/

                                 ORDER DISMISSING CASE

        This cause is before the Court upon Plaintiff’s Motion for Leave to Proceed In Forma

 Pauperis [DE 3]. The Court has carefully considered the court file and is otherwise fully advised

 in the premises.

        On July 22, 2013, Plaintiff, proceeding pro se, filed his Complaint against Defendants,

 seeking 2 billion dollars in damages [DE 1].


                                                 1
Case 9:13-cv-80701-KAM Document 4 Entered on FLSD Docket 07/25/2013 Page 2 of 4




 Section 1915(e)(2)(B) of Article 28 of the United States Code provides as follows:

                 Notwithstanding any filing fee, or any portion thereof, that may have been
                 paid, the court shall dismiss the case at any time if the court determines
                 that--
                 (B) the action or appeal--
                 (i) is frivolous or malicious;
                 (ii) fails to state a claim on which relief may be granted; or
                 (iii) seeks monetary relief against a defendant who is immune from such relief.

         The Court must first examine whether this Complaint is frivolous or fails to state a claim

 before reaching a determination on the merits of Plaintiff’s in forma pauperis application. Cf.

 Herrick v. Collins, 914 F.2d 228, 229 (11th Cir. 1990) (court should determine whether the

 complaint was frivolous before ordering plaintiff to pay a partial filing fee).

         The Supreme Court has established that a court should afford a pro se litigant wide

 leeway in pleadings. See Haines v. Kerner, 404 U.S. 519, 520 (1972) (per curiam) (holding

 allegations of a pro se complaint to a less stringent standard than formal pleadings drafted by

 lawyers). However, this leniency does not give the court license to rewrite an otherwise deficient

 pleading in order to sustain an action. GJR Investments, Inc., v. County of Escambia, 132 F.3d

 1359, 1369 (11th Cir. 1998). Pro se litigants are required to meet certain essential burdens in

 their pleadings. See Brown v. Crawford, 906 F.2d 667, 670 (11th Cir. 1990).

         Although Plaintiff names various federal claims throughout his Complaint, none of the

 facts set forth in the Complaint state a claim. His Complaint initially sets forth a variety of

 complaints he has against various attorneys in connection with the sale of his property;

 allegations relating to some intra-family dispute relative thereto; and claims of deceit relative to

 the transfer of the property [DE 1 at 1 et. seq.].


                                                      2
Case 9:13-cv-80701-KAM Document 4 Entered on FLSD Docket 07/25/2013 Page 3 of 4




        He then moves onto a dispute with a Palm Beach College security employee having

 something to do with an allegation that he was carrying a weapon on campus and further having

 something to do with his psychology paper on Death & Dying [DE 1 at 7-8]. There is a

 discussion of various people trying to run him over [DE 1 at 8-9]. He alleges that the Palm

 Beach Gardens police conspired with Palm Beach State College having something to do with the

 sale of his property [DE 1 at 9-10].

        He raises various complaints against Palm Beach State College, including claims that: it

 blocked him from downloading his homework [DE 1 at 12]; he was unable to download

 information onto a Palm Beach State College library computer [DE 1 at 13]; a Math lab tutor

 talked about illegal drugs [DE 1 at 13-14]; a group was proselytizing on campus [DE 1 at 14]; a

 Black professor suggested that he drop his intermediate algebra class [DE 1 at 15]; a Black

 professor would not let anyone check Plaintiff’s paper [Id.]; a student was on marijuana [DE 1 at

 16-17]; the negative attitude of an English lab employee resulted in Plaintiff failing English 1101

 [DE 1 at 17]; he was barred from Palm Beach State College [DE 1 at 18]; the College delayed

 sending his transcript to Miami Dade College [DE 1 at 19].

        He complains that Great Lakes Loan and Palm Beach State College would not let him

 transfer his loan to Miami Dade College [DE 1 at 20]. He also alleges that various defendants

 failed to release funds from an insurance claim filed in 2004 after a hurricane [DE 1 at 21].

        No part of Plaintiff’s Complaint states a claim; therefore, pursuant to 28 U.S.C.

 §1915(e)(2)(B)(ii), the Court finds that the Complaint should be dismissed.




                                                  3
Case 9:13-cv-80701-KAM Document 4 Entered on FLSD Docket 07/25/2013 Page 4 of 4




        Accordingly, it is hereby ORDERED AND ADJUDGED that Plaintiff’s Complaint is

 DISMISSED WITHOUT PREJUDICE. Any pending motions are DENIED as MOOT. The

 Clerk shall CLOSE this case.

        DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

 Florida, this 25th day of July, 2013.

                                         ______________________________________
                                         KENNETH A. MARRA
                                         United States District Judge




                                            4
